                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA         )
                                 )
v.                               )              NO. 3:09-00047
                                 )              JUDGE CAMPBELL
ADRIAN DEWAYNE PATTERSON, et al. )


                                          ORDER


     I hereby recuse myself from this action.

     IT IS SO ORDERED.



                                                __________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




 Case 3:09-cr-00047     Document 148        Filed 08/06/10   Page 1 of 1 PageID #: 419
